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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

   In re:                                       §
                                                § Chapter 11
   Professional Fee Matters Concerning          §
   the Jackson Walker Law Firm                  § Case No. 23-00645 (EVRA)
                                                §
                                                §

                 JACKSON WALKER LLP’S WITNESS AND EXHIBIT LIST
                   FOR HEARING SCHEDULED ON OCTOBER 15, 2024
                            [Relates to Dkt. Nos. 338 & 345]

Main Case No: 23-00645 (EVR)                 Miscellaneous Proceeding: Professional Fee Matters
                                             Concerning the Jackson Walker Law Firm
Witnesses:
   1. All persons listed on the witness list Judge: Eduardo V. Rodriguez
      of any party; and
   2. Any rebuttal and/or impeachment        Courtroom Deputy: Ana Castro
      witnesses.
                                             Hearing Date: October 15, 2024
                                             Hearing Time: 1:00 p.m.
                                             Party’s Name: Jackson Walker LLP
                                             Attorneys’ Names: Russell Hardin, Jr.
                                                                     Leah Graham
                                                                     Emily Smith
                                                                     Jason L. Boland
                                                                     William R. Greendyke
                                                                     Paul Trahan
                                                                     Julie Harrison
                                             Attorneys’ Phone: (713) 652-9000
                                                                    (713) 651-5151
                                             Nature of Proceeding: Hearing on Jackson Walker
                                             LLP’s Motion to Use Freeman Transcripts Without
                                             Restriction filed on September 18, 2024 [Dkt. No. 338].




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                                                       EXHIBITS1

Ex.      Description                                     Offered      Objection        Admitted /     Disposition
                                                                                       Not Admitted
#
1.       United States Trustee’s Witness and
         Exhibit List filed October 4, 2024
         [Dkt. No. 380]
2.       Excerpts from Deposition of Albert
         Alonzo conducted on September
         18, 2024
3.       Excerpts from Deposition of David
         Jones conducted on September 19,
         2024
4.       United States Trustee’s Motion for
         (1) Relief from Judgment Pursuant
         to Federal Rule of Civil Procedure
         60(B)(6) and Federal Rule Of
         Bankruptcy Procedure 9024
         Approving Compensation
         Applications of Jackson Walker
         LLP (2) Sanctions, and (3) Related
         Relief filed in Auto Plus Auto
         Sales, LLC; Case No. 23-90055
         (CML) [Dkt. No. 50]
5.       Any document or pleading filed in
         the above-captioned case, including
         any exhibits and attachments
         thereto
6.       Any exhibit designated by any other
         party
7.       Any exhibit necessary to rebut the
         evidence or testimony of any
         witness offered or designated by
         any other party

            Jackson Walker LLP (“JW”) reserves (i) the right to amend and/or supplement this Witness

 and Exhibit List at any time prior to the hearing; and (ii) the right to use additional exhibits for



 1
     All references herein to any particular Dkt. No. include all exhibits or attachments thereto.



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purposes of rebuttal or impeachment and to further supplement the foregoing Witness and Exhibit

List as appropriate. JW also reserves the right to rely upon and use as evidence (i) exhibits included

on the exhibit lists of any other parties in interest; and (ii) any pleading, hearing transcript, or other

document filed with the Court in the above-captioned matter.




                            [Reminder of Page Intentionally Left Blank]




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Dated: October 11, 2024                              Respectfully submitted,

 NORTON ROSE FULBRIGHT US LLP                        RUSTY HARDIN & ASSOCIATES, LLP

 /s/ Jason L. Boland                                 /s/ Russell Hardin, Jr.
 Jason L. Boland (SBT 24040542)                      Russell Hardin, Jr. (SBT 08972800)
 William Greendyke (SBT 08390450)                    Leah M. Graham (SBT 24073454)
 Julie Harrison (SBT 24092434)                       Jennifer E. Brevorka (SBT 24082727)
 Maria Mokrzycka (SBT 24119994)                      Emily Smith (SBT 24083876)
 1550 Lamar, Suite 2000                              5 Houston Center
 Houston, Texas 77010                                1401 McKinney, Suite 2250
 Telephone: (713) 651-5151                           Houston, Texas 77010
 jason.boland@nortonrosefulbright.com                Telephone: (713) 652-9000
 william.greendyke@nortonrosefulbright.com           rhardin@rustyhardin.com
 julie.harrison@nortonrosefulbright.com              lgraham@rustyhardin.com
 maria.mokrzycka@nortonrosefulbright.com             jbrevorka@rustyhardin.com
                                                     esmith@rustyhardin.com
 Paul Trahan (SBT 24003075)
 Emily Wolf (SBT 24106595)                           Counsel for Jackson Walker LLP
 98 San Jacinto Blvd., Suite 1100
 Austin, Texas 78701
 Telephone: (512) 474-5201
 paul.trahan@nortonrosefulbright.com
 emily.wolf@nortonrosefulbright.com

 Counsel for Jackson Walker LLP




                                CERTIFICATE OF SERVICE

        I certify that on October 11th, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.



                                              By: /s/ Jason L. Boland
                                                      Jason L. Boland




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